                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC. 1                       )
                                                          )       Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                   )
                                                          )
        Debtor.                                           )       CHAPTER 11
                                                          )

             DEBTOR’S MOTION TO DETERMINE ADEQUATE PROTECTION
              TO SECURED CREDITOR NATIONAL BANK OF COMMERCE
        COMES NOW, Sarai Services Group, Inc., SSGWWJV LLC, Sarai Investment
Corporation, and CM Holding, Inc. (collectively, the “Debtor”), and shows unto this Honorable
Court the following:

                                              Background

        1.       On October 3, 2018, (the "Commencement Date"), the Debtor commenced with
this Court a voluntary case under Chapter 11 of Title 11, United States Code.

        2.       This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is
proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             Relevant Facts

        3.       According to its bankruptcy schedules, the Debtor owns real property valued at
$6,600,000.00.

        4.      Creditor National Bank of Commerce (“NBC”) possesses a secured lien on the
Debtor’s real property. According to the Debtor’s schedules, NBC’s lien secures a debt totaling
$3,920,000.00 as of the Commencement Date.

        5.      In the summer of 2018, as part of a refinancing of one or more loans, NBC
ordered an appraisal of the Debtor’s real property. The real property’s appraised value of
$6,600,000.00 is based on this appraisal NBC ordered.

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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




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       6.      NBC enjoys an equity cushion of $2,680,000.00 in the Debtor’s real property; its
loan-to-value ratio is 59% (the “Equity Cushion”).

       7.      No other creditors have a secured interest in this Debtor’s real property.

       8.      The Debtor has employed a real estate broker, whose employment this Court has
approved, to sell its real property secured by NBC’s lien. The Debtor expects to file a Plan of
Reorganization proposing terms for liquidating its real property and to pay off its secured and
unsecured creditors in full.

                                        Relief Requested

       9.      The Debtor seeks a determination from this Court that three monthly payments of
$4,500.00 per month beginning on March 15, 2019 and continuing on the 15th day of each
subsequent month, constitutes sufficient adequate protection to NBC for its secured interest in
the Debtor’s collateral.

       10.     While NBC’s claim will accrue interest at its contract rate, along with related
expenses contractually agreed to between the Debtor and NBC, during the pendency of this case.

       11.     If the Debtor has not confirmed a Plan of Reorganization by June 14, 2019, it will
separately seek approval of adequate protection for the period beginning on June 15, 2019 and
moving forward.

       WHEREFORE, premises considered, the Debtor respectfully requests that this Court
enter an Order: determining that, pursuant to 11 U.S.C. § 361, monthly payments of $4,500.00
per month beginning on March 15, 2019 to secured creditor National Bank of Commerce
constitutes sufficient adequate protection to protect this creditor’s interest in the Debtor’s
collateral property for the period through June 14, 2019; and granting such further relief as this
Court deems just and proper.

       Respectfully submitted this the 28th day of February, 2019.



                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard III
                                             Tazewell T. Shepard IV
                                             Attorneys for the Debtor




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                                  CERTIFICATE OF SERVICE

       This is to certify that this the 28th day of February, 2019, I have this day served the
foregoing motion on all parties requesting notice, all parties listed on the Clerk’s Certified
Matrix and Richard Blythe, Office of the Bankruptcy Administrator, by electronic service
through the Court’s CM/ECF system and/or by placing a copy of same in the United States Mail,
postage pre-paid.


                                           /s/ Tazewell T. Shepard IV
                                           Tazewell T. Shepard IV




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